Case 23-40709   Doc 70-27 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
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                         Exhibit AA
         Case 23-40709     Doc 70-27 Filed 01/16/24 Entered 01/16/24 13:03:39                 Desc Exhibit
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From:                            Lolonyon Akouete <info@smartinvestorsllc.com>
Sent:                            Saturday, January 7, 2023 6:37 PM
To:                              David Ferris
Subject:                         19 TL 000768 Town of Westborough v. Westborough SPE, LLC , et al.
Attachments:                     19 TL 000768 Town of Westborough v. Westborough SPE, LLC.pdf; Ex Parte Motion for
                                 Approval of Memorandum of Lis Pendens.pdf; 19 TL 000768 HPS - Summons and
                                 Hearing Notice.pdf; Verified Complaint (with exhibits).pdf




   Caution: External (info@smartinvestorsllc.com)

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David,

See attached:
Motion to Vacate foreclosure Judgment for 231 Turnpike Road property.
Ex Parte Motion for Approval of Memorandum of Lis Penden.

The hearing for the Ex Parte Motion will be on Tuesday 01/10/2023 at 09:00 AM.
The hearing for the Vacation of Foreclosure Judgment is on 01/19/2023. At 02:00 PM.

Thanks
Lolo
